     Dated: 11/02/11




                   IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

   IN RE:                              )
                                       )
   JAMES ROBERT JACKSON, JR.           )
   1181 Neptune Road                   )                 Case No. 3:10-bk-08723
   Ashland City, TN 37015              )                 Chapter 11
   SSN/ITIN: xxx-xx-1273               )                 Judge Harrison
                                       )
                Debtor.                )
                                       )
   ____________________________________)
                                       )
   ALFRED K. NIPPERT, JR.,             )
                                       )
                Plaintiff              )
                                       )
   v.                                  )                 Adv. Pro. No. 3:11-00074A
                                       )
   JAMES ROBERT JACKSON, JR.           )
                                       )
                Defendant.             )

               JUDGMENT AND ORDER OF NONDISCHARGEABILITY

          Based upon the Stipulation of the parties, pursuant to Bankruptcy Rule 7041 and

   Federal Rule of Civil Procedure 41(a)(1)(ii) and (a)(2), and the record filed herein, the

   Court hereby enters the following Judgment and Order of Nondischargeability:

          IT IS HEREBY ORDERED, ADJUDGED AND DECREED that Plaintiff

   Alfred K. Nippert, Jr. and Defendant James R. Jackson, Jr. have entered into a Settlement

   Agreement effective as of November 1, 2011, which is specifically incorporated herein

   by reference and made an Order of this Court;




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          IT IS ORDERED, ADJUDGED AND DECREED that Judgment is hereby

   entered in favor of Plaintiff Alfred K. Nippert, Jr. against Defendant James R. Jackson,

   Jr. in the total amount of $750,000.00;

          IT IS FURTHER ORDERED, ADJUDGED AND DECREED that pursuant to

   11 U.S.C. § 523(a)(6), the Judgment entered herein against Defendant James R. Jackson,

   Jr. is nondischargeable in Bankruptcy Case Number 3:10-bk-08723 filed in the United

   States Bankruptcy Court for the Middle District of Tennessee and in any subsequent

   bankruptcy case filed by Defendant James R. Jackson, Jr.

          The parties hereto consent to entry of this Judgment and Order of

   Nondischargeability, which shall constitute a final judgment and order, and each party

   shall bear his own attorney’s fees and costs incurred in this action.

          IT IS SO ORDERED.

        THIS ORDER WAS SIGNED AND ENTERED ELECTRONICALLY AS
                INDICATED AT THE TOP OF THE FIRST PAGE

   Approved for Entry and Submitted by:

   LAWSON LAW OFFICE, PLLC


   /s/ Jennifer A. Lawson         _________
   Jennifer A. Lawson
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   LEFKOVITZ & LEFKOVITZ


   /s/ Steven L. Lefkovitz__________
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   Counsel to the Defendant/Debtor, James R. Jackson, Jr.



   /s/ James R. Jackson, Jr.__________
   Debtor, James R. Jackson, Jr.
   Original Signature on File with Plaintiff’s Counsel




                                                             This Order has Been electronically
                                                             signed. The Judge's signature and
                                                             Court's seal appear at the top of the
                                                             first page.
                                                             United States Bankruptcy Court.

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